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                      IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION

DEON BROOMER,

         Plaintiff,
    v.                                           Case No:
                                                 1:17-cv-00060-JRH-BKE
JARVIS PRODUCTS
CORPORATION,

         Defendant.

                           STIPULATION OF DISMISSAL
                      PURSUANT TO F.R.C.P. RULE 41(a)(1)(A)(ii)

         COMES NOW the Plaintiff, Deon Broomer, pursuant to F.R.C.P. Rule

41(a)(1)(A)(ii), and files this Stipulation of Dismissal signed by all parties who

have appeared and voluntarily dismisses this action with prejudice and notifies the

Court that all claims asserted in this litigation have been settled by the parties.

Each part has agreed to bear its own costs.

         This 23rd day of January, 2018.

s/ Stav Bottner                                s/ Stevan A. Miller
Stav Bottner                                   Stevan A. Miller
Georgia Bar No. 328587                         Georgia Bar No. 508375
The Law Offices Of Robert Pagniello            Drew Eckl & Farnham, LLP
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Lilburn, Georgia 30047                         Atlanta, Georgia 30308
Telephone: (770) 982-2252                      Telephone: (404) 885-1400
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Attorney for Plaintiff                         Attorneys for Defendant

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00153-127633
        Case 1:17-cv-00060-JRH-BKE Document 16 Filed 01/23/18 Page 2 of 3



                     IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION

DEON BROOMER,

        Plaintiff,
   v.                                        Case No:
                                             1:17-cv-00060-JRH-BKE
JARVIS PRODUCTS
CORPORATION,

        Defendant.

                          CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that I am counsel for Defendant and that I have this

day served the foregoing Stipulation of Dismissal Pursuant to F.R.C.P. Rule

41(a)(1)(A)(ii) upon all parties to this matter by filing with the Court’s CM/ECF

system, which will automatically e-mail notification of same to the following

counsel of record:

                          Stav Bottner, Esq.
                          The Law Offices of Robert Pagniello
                          651 Exchange Place, NW
                          Lilburn, Georgia 30047

        This 23rd day of January, 2018.

                                            s/ Stevan A. Miller
                                            Stevan A. Miller
                                            Georgia Bar No. 508375
        Case 1:17-cv-00060-JRH-BKE Document 16 Filed 01/23/18 Page 3 of 3



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